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                                                                         FILED IN CLERK'S OFFICE
                                                                             U.S.D.C.- Atlanta

                    IN THE UNITED STATES DISTRICT CO
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION                           KEVIN P. WEIMER, Clerk
                                                                         By:         Deputy Clerk

 CCA AND B, LLC,

       Plaintiff,

              V.                                   SEALED
 A PUEE, etal.,                                    Case No. 23-cv-5519-TWT
       Defendants.

                     NOTICE OF VOLUNTARY DISMISSAL

      Plaintiff CCA and B, LLC d/b/a The Lumistella Company, by and through

undersigned counsel and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), hereby

voluntarily dismisses this action against the following Defendants without prejudice,

with each party to bear its own attorneys' fees and costs:

             1. YoJoy,

             2. QING XIE TOYS;

            3. JIANMEIGONGYI;

            4. N/AWu han lan yong ke ji you xian gong si; and

            5. zhihonglianchuangshenzhenkejiyouxiangongsi.

Dated: January 2, 2024.

                                Respectfully submitted,
                                THE SLADKUS LAW GROUP

                                s/ Jason Cooper
                                Carrie A. Hanlon

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